 

Case 4:19-mj-00357-HCA Document9 Filed 06/06/19 Page 1 of 2

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT . | |. gas

 

LUIS RAS ANTI: 07
for the TUN = “

Southern District of lowa

United States of America

Vv. )
) Case No. 4:19-MJ-357

RAYLON REDELL CANADA, )

)

)

eee )

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) RAYLON REDELL CANADA
who is accused of an offense or violation based on the following document filed with the court:

O Indictment () Superseding Indictment 1 Information O Superseding Information wm Complaint
Probation Violation Petition (C1 Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

21 U.S.C. § 846, 841(b)(1)(C) - Conspiracy to distribute controlled substances

Date: 06/03/2019 “ek C Ex yw

Issuing éfficer's signature

City and state: Des Moines, lowa 7 Helen C. Adams, Chief United States Magistrate Judge _
Printed name und title -

 

 

Return

 

This ms was received on (date) t I 3 /: / ‘y , and the person was arrested on (date) C4 j / G -

at (city and state)

Date: GJ 7 & A ae
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Case 4:19-mj-0032%

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